Case 1:07-cV-10639-LAK-AJP Document 299 Filed 12/09/08 Page 1 of 11

UNITED STATES DISTRICT COU'RT
SOUTHERN DISTRICT OF NEW YORK

 

____________________________________________________________________________ X
WILLIAM A. GROSS CONSTRUCTION, 07-CV-10639 (LAK)(AJP)
]NC.
Plaintiff,
-against- Fitth Party Defendant
ADF South Carolina, Inc.
AMERICAN MANUFACTURERS MUTUAL Rule 26(a) Disclosure
]NSU_RANCE COl\/,[PANY,
Defendant.
-------------- .X
And successive actions
X

 

Fifth Party Defendant, ADF South Carolina, lnc. (“A_DF”), through counsel,

submits this Initial Disclosure to Fifth Party Plaintiff, the Dor_rnitory Authority of the State of

NeW York (“DASNY”), pursuant to Rule 26(a)(l) of the Federal Rules of Civil Procedure. '

I. 'l`he name and, if known, the address and telephone number of each individual
likely to have discoverable information that the disclosing party may use to
support its claims or defenses, unless solely for impeachment, identifying the
subjects of the information:

A.

' D'ani'el 'Loparco f

Persons Culrently or Formerly Employed by DASNY including, but not
limited to:

J ames B. I-lall
Ed Minaban
John DeMase
John Andrus
E. Bianchi
Paul Laloy

V. Osuniisan
l-I. Otero

ADF believes that all of these persons are or Were employees of DASNY.
The address of DASNY is 515 Broadway, Albany, NeW York 12207-

Case 1:07-cV-10639-LAK-A.]P Document 299 Filed 12/09/08 Page 2 of 11

2964. The telephone number of DASNY is (518) 257-3000. To the extent
that the above referenced persons are no longer employed by DASNY,
ADF believes that DASNY is likely to possess information regarding their
last known address and other contact information

ADF believes that these persons are likely to have discoverable
information on one or more of the following subjects:

The agreements entered into by DASNY and ADF in connection With the
Project; the agreements entered into by DASNY and the other entities
involved With the Project; ADF’s performance of work at the Project; the
work performed by other contractors in connection With the Project; the
conduct of DASNY in connection with the Project; the quality and
completeness of contract documents; program changes; design revisions;
the administration of the contract by DASNY and its consultants and
representatives; DASNY’s decision to replace Bovis with Hill in
connection With the Project; analysis and studies regarding purported
causes of delays on the Project; claims against DASNY for balance owed
on the contract, delay, extra work, impacts and inefficiencies; and ADF’s
claims and defenses as set forth in ADF’s responsive pleadings

B. Present or Former Employees of Bovis Lend Lease LMB, lnc. including,
but not limited to:

J ames Abadie
Bob Benziger
Victor Cocucci
Brett Dahlia
Sean Gioffre
John Huvane
Mike Kelz

Ted l\/lusho
Dennis Prude
Bernard Toscano
Michael Cain
Albert Ablorh
Joshua Kelly
Donald Beaston
Darryl Bridges
John McGillicuddy

ADF believes that all of these persons are or Were employees of Bovis.

riThe address'of Bovis is ZOO'Park Avenue, New"York, New York'10168'.'
To the extent that the above referenced persons are no longer employed by
Bovis, ADF believes that Bovis is likely to possess information regarding
their last known address and other contact information

Case 1:07-cV-10639-LAK-A.]P Document 299 Filed 12/09/08 Page 3 of 11

ADF believes that these persons are likely to have discoverable
information on one or more of the following subj ects:

The agreements entered into by DASNY and ADF in connection with the
Project; the agreements entered into by DASNY and Bovis and other
entities involved with the Project; ADF’s performance of work at the
Project; Bovis’ performance of work under its contract; the work
performed by other contractors in connection with the Proj ect; the conduct
of DASNY in connection with the Proj ect; the quality and completeness of
contract documents ; program changes ; design revisions; the administration
of the contract by DASNY and its consultants and representatives; the
decision to terminate Bovis’ involvement with the Project; claims against
DASNY for balance owed on the contract, delay, extra work, impacts and
inefficiencies; SMI’s proposed substitutions of materials, particularly
related to the monumental staircase and the impact of delays on the
outdoor storage of fabricated materials; and ADF’s claims and defenses as
set forth in ADF’s responsive pleadings

C. Persons Currently or Formerly Employed by Rafael Vinoly Architects PC
including, but not limited to:

lohn Chu
Scott l-lollas
Darin Norman

ADF believes that all of these persons are or were employees of RVA
and/or the RVA/DMJM Joint Venture. RVA is a defendant in this action
and is represented by counsel. To the extent that the above referenced
persons are no longer employed by RVA, SMI believes that RVA is likely
to possess information regarding their last known address and other
contact information

ADF believes that these persons are likely to have discoverable
information on one or more of the following subj ects:

The agreements entered into by DASNY and RVA and other entities
involved with the Project; ADF’s Performances of work at the Project;
RVA’s performance of work under its contract; the work performed by
other contractors in connection with the Project; the conduct of DASNY in
connection with the Project; the quality and completeness of contract
documents; program changes; design revisions; the administration of the
contract by DASNY and its consultants and representatives; the decision

to'tenninate Bovis" involvement with the Project;'clairns by DASNY; ' ' j '

claims against DASNY for balance owed on the contract, delay, extra
work, impacts and inefficiencies; Sl\/[I’s proposed substitutions of
materials, particularly related to the monumental staircase and the impact
cf delays on the outdoor storage of fabricated materials; and ADF’s claims
and defenses as set forth in ADF’s responsive pleadings

3

Case 1:07-cV-10639-LAK-A.]P Document 299 Filed 12/09/08 Page 4 of 11

D. Persons Currently or Formerly Employed by Hill lntemational, lnc.
including, but not limited to:

Hosney Abdelgelil
Mike Bailey
.l ames Grundhoffer
.lohn Milano

l Marc Zaretsky

ADF believes that all of these persons are or were employees of Hill. The
address of Hill is One Penn Plaza, New York, New York 10119. The
telephone number is (212) 244-3700. To the extent that the above
referenced persons are no longer employed by Hill, ADF believes that Hill
is likely to possess information regarding their last known address and
other contact information

ADF believes that these persons are likely to have discoverable
information on one or more of the following topics:

The circumstances surrounding DASNY’s decision to hire Hill to replace
Bovis in connection with the Project; Hill’s analysis of the Project status
and problems upon Hill’s commencement of work in connection with the
Project; the work performed by other contractors in connection with the
Proj ect; the conduct of DASNY in connection with the Proj ect; the quality
and completeness of contract documents; program changes;_ design
revisions ; the administration of the contract by DASNY and its consultants
and representatives; claims against DASNY for balance owed on the
contract, delay, extra work, impacts and inefficiencies and ADF’s claims
and defenses as Sct forth in ADF’s responsive pleadings

E. Persons Currently or Forrnerly Employed by A.I. McNulty & Company,
lnc.

Bob Door
Gordon Lehrnan
Rob Weiss
Larry Weiss

ADF believes that all of these persons are or were employees of A..T.
l\/lcNulty. The address of A.J. McNulty is 53-20 44th Street, Maspeth,
N.Y.'l 137 8. To*the extent that the above referenced persons are no longer
employed by A..T. McNulty, ADF believes that A.J. McNulty is likely to
possess information regarding their last known address and other contact
information

Case 1:07-cV-10639-LAK-A.]P Document 299 Filed 12/09/08 Page 5 of 11

ADF believes that these persons are likely to have discoverable
information on one or more of the following topics:

The circumstances surrounding the hiring of A..l. McNulty in connection
with the Project; A.I. McNulty’S analysis of the Project status upon A..T.
McNulty’s commencement of work in connection with the Project; the
quality and completeness of the work performed by ADF at the Project;
the work performed by A..T. McNulty at the Proj ect; the work performed
by other contractors in connection with the Project; the conduct of
DASNY in connection with the Project; the quality and completeness of
contract documents; program changes; design revisions; the administration
of the contract by DASNY and its consultants and representatives; claims
against DASNY for balance owed on the contract, .delay, extra work,
impacts and inefficiencies and A_DF’s claims and defenses as set forth in
ADF’s responsive pleadings

F. Persons Cur'rently or Formerly Employed by A. Williams Trucking &
Backhoe ’l`renching, lnc. (“A. Williams”).

Keith Williams
Dolly Williams

The address of A. Williams is 225 3]'d Avenue, Brooklyn, N.Y. 11217,
telephone 718-923-9600.

ADF believes that these persons are likely to have discoverable
information on one or more of the following topics:

The agreements entered into by DASNY and A.Williams in connection
with the Project; A.William’s performance of the work under the contract;
defects and deficiencies in the work of A.Williams at the Project; delays to
the Project caused by A.Williams; the work performed by other
contractors in connection with the Project; the conduct of DASNY in
connection with the Project; the quality and completeness of contract
documents; program changes; design revisions; the administration of the
contract by DASNY and its consultants and representatives; analysis and
studies regarding purported causes of delays on the Project; claims by
DASNY; claims against DASNY for balance owed on the contract, delay,
extra work, and impacts and inefficiencies

G. Persons Currently or Formerly Employed by CNA Surety Company
(GFCNA!J)'

CNA is a defendant in this action, is represented by and can be contacted
through counsel. `

ADF believes that these persons are likely to have discoverable
information on one or more of the following subj ects:

5

Case 1:07-cV-10639-LAK-A.]P Document 299 Filed 12/09/08 Page 6 of 11

Agreements by and between CAN, SMI and ADF in connection with the
Project; the performance bond issued with respect to the Project; the
circumstances surrounding the hiring of A.J. l\/lcNulty in connection with
the Project','A.J. McNulty’s analysis of the Project status upon A.J.
McNulty’s commencement of work in connection with the Proj ect; ADF’s
performance of work at the Project; the work performed by A.l. McNulty
at the Proj ect; the work performed by other contractors in connection with
the Project; the conduct of DASNY in connection with the Project; the
quality and completeness of contract documents; program changes; design
revisions; the administration of the contract by DASNY and its consultants
and representatives; analysis and studies regarding purported causes of
delays on the Project; claims by DASNY; claims against DASNY for
balance owed on the contract, delay, extra work, impacts and
inefficiencies; and ADF’s claims and defenses as set forth in ADF’s
responsive pleadings

H. Persons Currently or Formerly Employed by A_DF South Carolina lnc.
(“ADF”).

Randall A. Hrechko
Louis Potvin
Pierre Paschini

ADF is a defendant in this action, is represented by and can be contacted
through undersigned counsel.

ADF believes that these persons are likely to have discoverable
information on one or more of the following subj ects:

Agreements by and between DASNY and ADF in connection with the
Project; ADF’s performance of work at the Project; SMI’s performance of
work at the Project; work performed by other contractors in connection
with the Project; the conduct of D_A.SNY in connection with the Project;
the quality and completeness of contract documents; program changes;
design revisions; the administration of the contract by DASNY and its
consultants and representatives; claims by DASNY; claims against
DASNY for balance owed on the contract, delay, extra work, impacts and
inefficiencies; Sl\/fl’s proposed substitutions of materials, particularly
related to the monumental staircase and the impact of delays on the
outdoor storage of fabricated materials; and ADF’s claims and defenses as
set forth in ADF’s responsive pleadings..

I. Persons Currently or Formerly Employed by SMI including, but not
limited to:

Randall A. Hrech_ko
Kevin Wall

Case 1:07-cV-10639-LAK-A.]P Document 299 Filed 12/09/08 Page 7 of 11

Lil Bridgeman
Sue Dease
Karl Scheinleber

SMI is a defendant in this action, is represented by and can be contacted
through undersigned counsel

ADF believes that these persons are likely to have discoverable
information on one or more of the following subj ects:

Formation and evolution of agreements and contracts between SMI and
DASNY and amendments and modifications thereto including the release
of SMI by DASNY from liabilities and obligations related to the Project;
agreements by and between DASNY and ADF in connection with the
Proj ect; agreements by and between CNA and ADF in connection with the
Project; agreements entered into by DASNY and the other entities
involved with the Project; ADF’s performance of the work under the
contract; the work performed by other contractors in connection with the
Project; the conduct of DASNY in connection with the Project; the quality
and completeness of contract documents; program changes; design
revisions; the administration of the contract by DASNY and its consultants
and representatives; claims by DASNY; claims against DASNY for
balance owed on the contract, delay, extra work, impacts and
inefficiencies; SMl’s proposed substitutions of materials, particularly
related to the monumental staircase and the impact of delays on the
outdoor storage of fabricated materials; and ADF’s claims and defenses as
set forth in ADF’s responsive pleadings

I. Persons Currently or Formerly Employed by Hillside lron Works
including, but not limited to:

Len Greenhall

ADF believes that these persons are or were employees of Hillside lron
Works. The address of Hillside is 3 Schoolhouse Lane, Waterford, N.Y.
12188. The telephone number of Hillside is (518) 257-3000. To the
extent that the above referenced persons are no longer employed by
Hillside, ADF believes that Hillside is likely to possess information
regarding their last known address and other contact information

A.DF believes that these persons are likely to have discoverable
information on one or more of the following subj ects:

ADF’s performance of work at the Project; installation of the monumental ,
staircase; the work performed by other contractors in connection with the
Proj ect; the conduct of DASNY in connection with the Proj ect; the quality
and completeness of contract documents; program changes; design
revisions; the administration of the contract by DASNY and its consultants

7

Case 1:07-cV-10639-LAK-A.]P Document 299 Filed 12/09/08 Page 8 of 11

and representatives; causes of delays on the Project; claims against
DASNY for balance owed on the contract, delay, extra work, impacts and
inefficiencies; and ADF’s claims and defenses as set forth in ADF’s
responsive pleadings

K. Persons Currently or Formerly Employed by WSP Cantor Seinuk
including, but not limited to:

Allen Thompson, P.E.

A_DF believes that these persons are or were employees of Cantor Seinuk.
The address of Cantor Seinuk is 228 E. 45th Street, New York, N.Y.
10017. The telephone number of Cantor Seinuk is (212) 687-9888. To
the extent that the above referenced persons are no longer employed by
Cantor Seinuk, ADF believes that Cantor Seinuk is likely to possess
information regarding their last known address and other contact
information

ADF believes that these persons are likely to have discoverable
information on one or more of the following subj ects:

Structural design of the Project; ADF’s performance of work at the
Project; the work performed by other contractors in connection with the
Project; the conduct of DASNY in connection with the Project; the quality
and completeness of contract documents; program changes; design
revisions; the administration of the contract by DASNY and its consultants
and representatives; DASNY’s decision to replace Bovis with Hill in
connection with the Project; analysis and studies regarding purported
causes of delays on the Project; claims of DASNY; claims against
DASNY for balance owed on the contract, delay, extra work, impacts and
inefficiencies; and ADF’s claims and defenses as set forth in ADF’s
responsive pleadings

L. Persons Currently or Formerly Employed by Cauldwell-Wingate Co., LLC
including, but not limited to:

Cliff Aikens

Paul DeSimone
John Eschenmiller
Alan Haines

Chris Hargrove
Susan L. Hayes

' "Steve lureller '

Abraham LaFleur
John Moore
Patrick O’Connell
Christopher Shaw

Case 1:07-cV-10639-LAK-A.]P Document 299 Filed 12/09/08 Page 9 of 11

Il.

SMI believes that these persons are or were employees of Cauldwell-
Wingate. The address of Cauldwell-Wingate is 380 Lexington Ave., New
York, N.Y. 10168. The telephone number of Cauldwell-Wingate is (212)
983-7150. To the extent that the above referenced persons are no longer
employed by Cantor Seinuk, SMI believes that Cantor Seinuk is likely to
possess information regarding their last known address and other contact
information

SMI believes that these persons are likely to have discoverable
information on one or more of the following subj ects:

Cauldwell-Wingate’s performance of work at the Project; knowledge of
welding work performed at the Project including the canopy and
monumental staircase; the work performed by other contractors in
connection with the Project; the conduct of DASNY in connection with
the Project; the quality and completeness of contract documents; program
changes; design revisions; the administration of the contract by DASNY
and its consultants and representatives claims against DASNY for balance
owed on the contract, delay, extra work, impacts and inefficiencies and
delays on the Proj ect.

Persons Currently or Formerly Employed by UAD, a subcontractor to
Cauldwell-Wingate Co. LLC.

The address ofUAD is unknown

SMI believes that these persons are likely to have discoverable
information on one or more of the following subj ects:

UAD’s and Cauldwell-Wingate’s performance of work at the Project;
knowledge of welding work performed at the Proj ect including the canopy
and monumental staircase; the work performed by other contractors in
connection with the Project; the conduct of DASNY in connection With
the Project; the quality and completeness of contract documents; program
changes', design revisions; the administration of the contract by DASNY
and its consultants and representatives; claims against DASNY for balance
owed on the contract, delay, extra work, impacts and inefficiencies and
delays on the Proj ect.

A copy of, or a description by category and location of, all documents
electronically stored information and tangible things that are in the possession,
custody or control of the party and that the disclosing party may use to support its

claims or defenses, unless solely for impeachment "

To support their defenses and/or claims in this action, ADF may use one or more
of the following categories of documents ln listing these materials, ADF makes
no representation that any one or more of these categories of documents is in the
possession custody, or control of ADF. Additionally, ADF includes any

9

Case 1:07-cV-10639-LAK-A.]P Document 299 Filed 12/09/08 Page 10 of 11

document or category of documents identified or disclosed by another party in
this litigation AI)F anticipates that it will rely on the following documents
relating to the Project: contracts subcontracts takeover agreements completion
agreements project documents project drawings plans and specifications change
orders requests for information punch lists project and job minutes daily
reports payment requisitions financial information progress schedules payroll
records invoices correspondence including emails.

To the extent that any of the documents described above are in the possession
custody or control of A_DF, ADF will make such documents available for
inspection and copying, subject to and consistent with the terms of protective
orders entered by the Court in September 2008.

In addition subject to and in accordance with the protective orders and the
parties’ agreement with respect to a protocol for the inspection of electronic data,
ADF will make available certain documents in electronic form that ADF may use
to support its claims or defenses

lll. A computation of each category of damages claimed by the disclosing party,
. making available for inspection and copying pursuant to Rule 34 the documents
or other evidentiary material, not privileged or protected from disclosure, on
which such computation is based, including materials bearing on the nature and

extent of injuries suffered

None at this time.

IV. For inspection and copying pursuant to Rule 34 any insurance agreement under
which an insurance business may be liable to satisfy all or part of a judgment
which may be entered in this action or to indemnify or reimburse for payments

made to satisfy the judgment

None applicable to the claims asserted against SMI.

Additionally, ADF includes any witnesses disclosed or identified by the other parties to
this litigation ADF reserves the right to supplement, amend, and/or modify this disclosure
pursuant to FRCP 26(a)(l) as necessary or warranted to insure its accuracy and completeness

10

 

Case 1:07-cV-10639-LAK-A.]P Document 299 Filed 12/09/08 Page 11 of 11

CERTIFICATE OF SERVICE

l hereby certify that on the 9th day of December, 2008, a true copy of the foregoing Rule
26(a) lnitial Disclosure was filed with the Clerk of the Court and served in accordance with the
Federal Rules of Civil Procedure, and/or the Southem District’s Local Rules, and/or the Southern
District’s Rules on Electronic Service upon all counsel of record.

Respectfully submitted,

SIEGFRIED, RIVERA, LER_NER,

DE LA TORRE & SOBEL, P.A.

Attorneys for ADF SOUTH CAROLINA, INC.
201 Alhambra Circle

Suite 1102

Coral Gables, Florida 33134-5108

305-442-3334

Fax: 305- 443»3292

By: /s/Stuart Sobel

Stuart H. Sobel, Esq. (admittedpro hac vice)
Email: ssobel@siegf`riedlaw.com

Florida Bar No.: 262382

H. Hugh McConnell, Esq.(admitredpro hac vice)
Email: tmcconnel]@siegfriedlaw.com

Florida Bar No.: 216828

 

11

